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IN THE UNITED sTATEs DISTRICT' Cofjf{T` '
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ELZENIA PITCHFORD, “' §».5. U§STCT

"JF") f"}i¢ §§ mE:-'MPHJS
Piaintiff,

vs. No. 04~2743-DP

WORLDWIDE MORTGAGE, et al.,

Defendants.

 

l ORDER GRANTING
MOTION FOR EXTENDING DATE FOR RESPONSE TO MOTION TO DISMISS

IT APPEARING that Plaintiff's motion for extending date for
response to motion to dismiss is well taken and should be granted.
IT IS, THEREFORE, ORDERED that Plaintiff shall have until June

18, 2005 to respond to the motion to dismiss.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02743 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

